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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
 ELIZABETH McMILLAN-McCARTNEY

              Plaintiff                        Case No.:
                                               18-cv-03331-CBD
 v.

 CALDWELL McMILLAN, JR.

              Defendant


               DEFENDANT’S RESPONSE TO MOTION TO MODIFY
                 SUMMARY JUDGMENT BRIEFING SCHEDULE



      The Defendant, by and through counsel, hereby responds to the Plaintiff’s

Motion (ECF 83).

1.    Plaintiff’s counsel proposed a one-week extension of their deadline from

December 3 to December 10, which would have moved Defendant’s reply deadline

from December 23 to December 30.

2.    Undersigned counsel agreed to the one-week extension but stated he would

then need to have until January 7 to file a reply. One, part of the moved week (Dec. 23

to 30) would be consumed by holiday scheduling. Two, counsel is having hand surgery

December 21 which will limit if not eliminate his ability to use the moved week.

3.    Plaintiff’s counsel responded that if Defendant’s counsel needed additional time,

they needed even more time — to Friday, December 17 (while keeping Defendant’s



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deadline at January 7). This (a) shortens the time Defendant’s counsel stated he needed,

and (b) puts the Plaintiff’s filing just before undersigned counsel’s hand surgery. They

did not explain how undesigned counsel’s need for more time caused them to suddenly

need even more time than originally requested. Rather than attempt to explain or

resolve this, Plaintiff’s counsel filed a non-consent motion.

WHEREFORE, if the extension is granted to December 17, undersigned counsel

requests 30 days to file a reply, to January 17, to accommodate holiday scheduling and

counsel’s surgery that will limit his ability to work on a reply.



                                           Respectfully submitted,

                                           /s/ Sean R. Day /s/
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                               CERTIFICATE OF SERVICE

I hereby certify that a copy of this document was served this filing date upon all parties
through the ECF filing system. All parties are represented by counsel who are
registered ECF users and have entered appearances in this case.

                                           /s/ Sean R. Day /s/
                                           Sean R. Day




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